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                                                UNITED STATES DISTRICT COURT
                                                       DISTRICT OF MARYLAND
      JILLYN K. SCHULZE                                                                                                 6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                                                                 SUITE 400
                                                                                                                      GREENBELT, MARYLAND 20770
                                                                                                                              (301) 344-0630



                                                                  April 17, 2019

         FILED VIA CM/ECF

         ALL COUNSEL OF RECORD

                    Re:       Long v. Pendrick Capital Partners II, LLC, et al.
                              Civil Action No. GJH-17-1955

         Dear Counsel:

                 Please be advised that a settlement conference in the above-captioned case has been
         scheduled for Wednesday, June 5, 2019 at 2:00 p.m. The settlement conference will be held in
         my chambers (Suite 400) in the Greenbelt Courthouse (6500 Cherrywood Lane, Greenbelt,
         Maryland 20770). It is essential that the parties, or in the case of a corporation or partnership, an
         officer or other representative with complete authority to enter into a binding settlement, be
         present in person. Attendance by the attorney for a party is not sufficient. See Local Rule 607.3.

                  No later than Wednesday, May 22, 2019, I would like to receive from each party a short
         letter candidly setting forth the following:

                    1. Facts you believe you can prove at trial;

                    2. The major weaknesses in each side’s case, both factual and legal;

                    3. An evaluation of the maximum and minimum damage awards you believe likely;

                    4. The history of any settlement negotiations to date; and

                    5. Estimate of attorney’s fees and costs of litigation through trial.

                 Please submit ex parte letters by email to MDD_JKSchambers@mdd.uscourts.gov. If the
         documents are more than 15 pages, please have a hard copy delivered. The letters will be solely
         for my use in preparing for the settlement conference. I also will review the pleadings in the
         court file. Additionally, if you want me to review any case authorities that you believe are critical
         to your evaluation of the case, please identify. If you want me to review any exhibits or
         deposition excerpts, please attach a copy to your letter.1


                    1
                      Please note that the American Bar Association Standing Committee on Ethics and Professional Responsibility has
          issued a Formal Opinion (No. 93-370) that precludes a lawyer, ABSENT INFORMED CLIENT CONSENT, from revealing to a
          judge the limits of the lawyer’s settlement authority or the lawyer’s advice to the client regarding settlement. The opinion does
          not preclude a judge, in seeking to facilitate a settlement, from inquiring into those matters. Therefore, please discuss these items
          with your client before appearing for the settlement conference.
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       The settlement conference process will be confidential and disclosure of confidential
dispute resolution communications is prohibited. See 28 U.S.C. § 652(d); Local Rule 607.4.

        Please note, wireless internet access is now available to members of the Bar of this Court
while in the Greenbelt Courthouse. If you have not previously registered to use the Attorney Wi-
Fi, you may do so on the day of the settlement conference in the Clerk’s Office on the second
floor of the Courthouse. The registration process will take approximately 15 minutes so please
arrive at the Courthouse sufficiently in advance of the settlement conference.

        Despite the informal nature of this ruling, it shall constitute an Order of the Court and the
Clerk is directed to docket it accordingly.

                                                              Very truly yours,

                                                                    /s/
                                                              Jillyn K. Schulze
                                                              United States Magistrate Judge

cc: Sharon Townsend
